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UNITED STATES _DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

 

ex rel BRADY MCFARLAND
v. : CASE No. 8115-cv-l708-T-23TGW
FLoRIDA PHARMACY ' d
SOLUTIONS, et al.,

QR_D_E_R

_ THIS CAUSE came on for consideration upon Relator Brady _
McFarland’s Motion to Compel Mediverse, LLC to Produce Documents and
for Sanctions (Doc. 396).

After the court set this motion for oral argument, the parties
requested that the hearing be continued because they Were attempting to
resolve the motion Without judicial intervention (Doc. 408). The court granted
that request in August 2018, and told the parties that the matter Would be
rescheduled upon notice that the issues identified in the motion remain
unresolved (Doc. 409). Several months have passed, and the parties have not
sought the court’s assistance with respect to this motion. Therefore, it is
assumed that the parties have resolved the discovery disputes raised therein.

It is, therefore, upon consideration

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ORDERED:

That Relator Brady l\/lcFarland’s Motion to Compel l\/Iediverse,
LLC to Produce Documents and for Sanctions (Doc. 396) is DENIED as
MOOT.

§§
DONE and ORDERED at Tampa, Florida, this7_ day ofJanuary,

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THOl\/IAS G. WlLSON
UNITED STATES l\/IAGISTRATE JUDGE

 

